            Case 2:24-bk-11409-SK                    Doc 64 Filed 03/28/24 Entered 03/28/24 15:34:25                                    Desc
                                                      Main Document Page 1 of 2

  Attorney or Party Name, Address, Telephone & FAX                               FOR COURT USE ONLY
  Nos., State Bar No. & Email Address

  Craig A. Welin (SBN: 138418)
  Gerrick M. Warrington (SBN: 294890)                                                                    FILED & ENTERED
  Frandzel Robins Bloom & Csato, L.C.
  1000 Wilshire Blvd., 19th Floor
  Los Angeles, CA 90017                                                                                          MAR 28 2024
  Tel: (323) 852-1000
  Email: cwelin@frandzel.com
  Email: gwarrington@frandzel.com                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY may        DEPUTY CLERK




       Attorney for: CPIF California, LLC

                                    UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA -Los Angeles DIVISION
  In re:                                                                         LEAD CASE NO.: 2:24-bk-11409-SK
  AGTJ13, LLC a Delaware limited liability company
                                                                                 CHAPTER: 11
                                                                  Debtor(s). JOINTLY ADMINISTERED WITH:
   ----------------------------------------------------------------------------
  In re:
                                                                                CASE NO. 2:24-bk-11412-SK

  AGTJ13 Manager, LLC, a California limited liability
  company                                                                             ORDER ON APPLICATION OF
                                                                 Debtor(s)       NON-RESIDENT ATTORNEY TO APPEAR IN
  ----------------------------------------------------------------------------      A SPECIFIC CASE [LBR 2090-1(b)]
  ☒ Affects All Debtors
  ☐ Affects AGTJ13, LLC
  ☐ Affects AGTJ13 Manager
                                                                                        [No hearing required per LBR 2090-1(b)(6)]

                                                            Defendant(s)

The Court, having reviewed the Application of the non-resident attorney to appear in a specific case
under LBR 2090-1(b) [Docket #56], and good cause appearing, orders as follows:
     The Application is granted and the following person may appear as requested in the above-
     entitled case (specify name of applicant): Kevin M. Capuzzi

//
//
//
//

5182050v1 | 000888-0001 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of
California.

June 2016                                                                                                   F 2090-1.2.ORDER.NONRES.ATTY
            Case 2:24-bk-11409-SK                  Doc 64 Filed 03/28/24 Entered 03/28/24 15:34:25                                      Desc
                                                    Main Document Page 2 of 2

     Permission to appear pro hac vice is effective upon payment of the requisite fee to the United
     States District Court for the Central District of California.

                                                                          ###




                  Date: March 28, 2024




5182050v1 | 000888-0001 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of
California.

June 2016                                                                                                   F 2090-1.2.ORDER.NONRES.ATTY
